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 6                           UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF ARIZONA
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 9   MICHAEL J. BROSNAHAN,                           No. CV-16-08277-PCT-DLR
10                       Plaintiff,
11                                                   [PROPOSED] ORDER GRANTING
           v.                                        DEFENDANTS’ MOTION TO
12                                                   DISMISS THE SECOND AMENDED
                                                     COMPLAINT
13   CALIBER HOME LOANS, INC., LSF9
     MASTER PARTICIPATION TRUST, and                 (Honorable Douglas L. Rayes)
14   SUMMIT SERVICE AND REALTY LLC
15                       Defendants.
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17         Having considered the moving and opposition papers on Defendants Caliber Home
18   Loans, Inc., LSF9 Master Participation Trust, and Summit Service and Realty LLC
19   (collectively “Defendants”) Motion to Dismiss Plaintiff’s Second Amended Complaint,
20   arguments, and all other matters presented to the Court, and for good cause appearing:
21         IT IS ORDERED granting Defendants’ Motion to Dismiss.                  The Second
22   Amended Complaint in this case is ordered dismissed with prejudice.
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